

McGovern v St. Luke's-Roosevelt Hosp. Ctr. (2024 NY Slip Op 00358)





McGovern v St. Luke's-Roosevelt Hosp. Ctr.


2024 NY Slip Op 00358


Decided on January 25, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 25, 2024

Before: Moulton, J.P., Kapnick, Mendez, Higgitt, O'Neill Levy, JJ. 


Index No. 150602/20 Appeal No. 1530 Case No. 2023-01773 

[*1]Michael McGovern et al., Plaintiffs-Appellants,
vThe St. Luke's-Roosevelt Hospital Center et al., Defendants-Respondents.





An appeal having been taken to this Court by the above-named appellant from an order of the Supreme Court, New York County (Lyle E. Frank, J.), entered on or about March 24, 2023,
And said appeal having been argued by counsel for the respective parties; and due deliberation having been had thereon, and upon the stipulation of the parties hereto dated January 16, 2024,
It is unanimously ordered that said appeal be and the same is hereby withdrawn in accordance with the terms of the aforesaid stipulation.
ENTERED: January 25, 2024








